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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


THOMAS PENNAVARIA                      :         CIVIL ACTION
                                       :
             v.                        :
                                       :
SCOTT DICLAUDIO, et al.                :         NO. 07-cv-05170-JF


                                  MEMORANDUM


Fullam, Sr. J.                                             October 19, 2009


     Plaintiff, Mr. Pennavaria, is a pro se prisoner who has sued

his former attorney and that attorney’s law firm.            In his

original complaint, Plaintiff primarily alleged that Defendants

were liable in tort for various misconduct that occurred during

the course of his representation and guilty plea.            I dismissed

those tort-based claims, however, because Plaintiff has not

pleaded his innocence or obtained any post-conviction relief on

the basis of the alleged misconduct.           I allowed Plaintiff to file

an amended complaint to more clearly assert his contract claims,

if any.     Plaintiff has filed an amended complaint, Defendants

have moved to dismiss it, and Plaintiff has not responded to

those motions.

     Defendants mainly argue that this Court lacks subject matter

jurisdiction, which attaches at the time that a complaint is

filed.    In determining whether diversity jurisdiction exists, I

must consider whether it is apparent, to a legal certainty, that

Plaintiff was unable to recover an award exceeding $75,000 when
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he filed his original complaint.        See Frederico v. Home Depot,

507 F.3d 188, 194 (3d Cir. 2007).

     I readily conclude that Plaintiff’s claims fail the “legal

certainty” test; his amended complaint must therefore be

dismissed.   As I concluded in my April 2009 memorandum and order,

Plaintiff cannot assert tort-based malpractice claims until he

obtains direct relief from his conviction.        For his remaining

contract-based claim, Plaintiff’s recovery cannot exceed the

amount that he paid for his representation: $13,000.          See Bailey

v. Tucker, 621 A.2d 108, 115 (Pa. 1993).

     Although this issue was not raised in Defendants’ motions to

dismiss the original complaint, it is patently obvious that

Plaintiff cannot recover an amount that will suffice for

diversity jurisdiction.     This deficiency was present in

Plaintiff’s original complaint, but it has been more clearly

revealed by the allegations of his amended complaint.

     In sum, I will dismiss Plaintiff’s amended complaint,

without prejudice to his ability to pursue his contract claim in

state court.   An appropriate order will be entered.


                                         BY THE COURT:



                                         /s/ John P. Fullam
                                         John P. Fullam,    Sr. J.




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